
Biles, J.,
dissenting: I dissent from the majority’s decision in this case for the reasons more fully stated in my dissent in Doe v. Thompson, 304 Kan. 291, 373 P.3d 750 (2016). As explained there, I believe the majority asks and answers the wrong question. Whether the Kansas Offender Registration Act (KORA) as amended in 2011 violates the Ex Post Facto Clause of the United States Constitution is entirely a federal question. We should apply the abundant federal caselaw where possible to inform the analysis. The majority’s approach disregards that caselaw.
As explained in my Thompson dissent, the applicable federal *191caselaw considers similar burdens under other offender registration schemes. It compels me to conclude that the 2011 KORA amendments do not violate tire United States Constitution’s Ex Post Facto Clause and the United States Supreme Court would so hold. I would affirm the Court of Appeals decision for the reasons I explain in Thompson.
Nuss, C.J., and Luckert, J., join in the foregoing dissent.
